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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED     STATES         OF   AMERICA,      )              CASE NO. 8:07CR98
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ROLAND K. LONG,                              )
                                             )
             Defendant.                      )

      This matter is before the Court on the motion filed by Assistant Federal Public

Defender Julie B. Hansen to allow her to withdraw from further representation of the

Defendant (Filing No. 76).

      This case involves crack cocaine. The Federal Public Defender was appointed.

(Filing No. 72.) Because the Federal Public Defender has a conflict of interest, the motion

to withdraw is granted.

      IT IS ORDERED:

      1.      The motion filed by Assistant Federal Public Defender Julie B. Hansen to

             allow her to withdraw from further representation of the Defendant (Filing No.

             76) is granted; and

      2.      The Federal Public Defender’s Office shall appoint a panel attorney pursuant

             to the previous order of appointment (Filing No. 72).

      DATED this 16th day of April, 2008.

                                                 BY THE COURT:

                                                 S/Laurie Smith Camp
                                                 United States District Judge
